
32 N.Y.2d 833 (1973)
In the Matter of J. Stanley Shaw, Appellant,
v.
Board of Elections of the City of New York, and Robert F. Wagner et al., Respondents.
Court of Appeals of the State of New York.
Argued May 23, 1973.
Decided May 23, 1973.
Jesse I. Levine for appellant.
Herbert Rubin, Abraham M. Fuss, Robert J. Levinsohn, Edward L. Birnbaum and Rose L. Rubin for respondents.
Concur: Chief Judge FULD and Judges BURKE, JASEN, GABRIELLI, JONES, WACHTLER and SODEN.[*]
Order affirmed, without costs; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in place of BREITEL, J.

